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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

UNITED STATES OF AMERICA,
                   Plaintiff,

     vs.                                      Criminal Action 2:11-CR-128(6)
                                              Judge Graham

WALTER EUGENE KING,
                   Defendant.

                           REPORT AND RECOMMENDATION
             The United States of America and defendant Walter Eugene King
entered into a plea agreement whereby defendant agreed to enter a plea
of guilty to an Indictment charging him with conspiracy to distribute and
to possess with intent to distribute Oxycodone, a Schedule II controlled
substance, in violation of 21 U.S.C. §846. On August 10, 2011, defendant,
accompanied by his counsel, appeared for a change of plea hearing.
Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a guilty
plea before a Magistrate Judge.         See United States v. Cukaj, 2001 WL
1587410 at *1 (6th Cir. 2001) [Magistrate Judge may accept a guilty plea
with the express consent of the defendant and where no objection to the
report and recommendation is filed]; United States v. Torres, 258 F.3d
791, 796 (8th Cir. 2001); United States v. Dees, 125 F.3d 261, 263-69 (5th
Cir. 1997); United States v. Ciapponi, 77 F.3d 1247, 1251 (10th Cir.
1996).
             During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions. Based
on that observation, the undersigned is satisfied that, at the time he
entered    his   guilty   plea,   defendant   was   in   full   possession   of   his
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faculties,    was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics or alcohol.1
             Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence to
plead.     Based       on    the     observations     of    the    undersigned,     defendant
understands      the     nature      and   meaning    of    the   charge    returned   in   the
Indictment    and      the    consequences      of    the    plea.     Defendant    was     also
addressed personally and in open court and advised of each of the rights
referred to in Rule 11 of the Federal Rules of Criminal Procedure.
             Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.                        Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney for
the United States and filed on August 4, 2011, represents the only
promises   made     by      anyone    regarding      the    charge    in   the   Indictment.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, defendant may
nevertheless not withdraw his guilty plea.
             Defendant confirmed the accuracy of the material aspects of
the statement of facts supporting the charge.                     He confirmed that he is
pleading guilty to Count One of the Indictment because he is in fact
guilty of the offense charged in the Indictment.                       The Court concludes
that there is a factual basis for the plea.
             The Court concludes that defendant’s plea of guilty to Count
One   of   the    Indictment          is    knowingly       and   voluntarily      made     with
understanding of the nature and meaning of the charge and of the
consequences of the plea.




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        Defendant King acknowledged that he had taken Oxycodone and methadone,
as prescribed for him, within the 24 hours prior to the proceeding. He and
his counsel represented, and the Court observed, that defendant was
nevertheless able to understand and fully participate in the proceeding.

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               It is therefore RECOMMENDED that defendant Walter Eugene
King’s guilty plea to Count One of the Indictment be accepted.               Decision
on acceptance or rejection of the plea agreement was deferred for
consideration        by   the   District   Judge    after   the   preparation   of    a
presentence investigation report.
               In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed    to    by    defendant    through       counsel,   a   written   presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.                   Objections to the
presentence report must be made in accordance with the rules of this
Court.
               If any party seeks review by the District Judge of this Report

and Recommendation, that party may, within fourteen (14) days, file and

serve on all parties objections to the Report and Recommendation,

specifically designating this Report and Recommendation, and the part

thereof in question, as well as the basis for objection thereto.                     28

U.S.C. §636(b)(1); F.R. Civ. P. 72(b).              Response to objections must be

filed within fourteen (14) days after being served with a copy thereof.

F.R. Civ. P. 72(b).

               The parties are specifically advised that failure to object to

the Report and Recommendation will result in a waiver of the right to de

novo review by the District Judge and of the right to appeal the decision

of the District Court adopting the Report and Recommendation. See Thomas

v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of Teachers,

Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States v. Walters,

638 F.2d 947 (6th Cir. 1981).




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August 10, 2011                           s/ Norah McCann King
 Date                                       Norah McCann King
                                     United States Magistrate Judge




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